           Case 1:16-vv-00474-UNJ Document 41 Filed 12/08/17 Page 1 of 7




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-474V
                                      Filed: April 18, 2017
                                         UNPUBLISHED

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TRACY E. CARROZZA,                      *
                                        *
                    Petitioner,         *      Joint Stipulation on Damages;
v.                                      *      Tetanus, Diphtheria, and Acellular
                                        *      Pertussis (“Tdap”) Vaccine; Shoulder
SECRETARY OF HEALTH                     *      Injury Related to Vaccine Administration
AND HUMAN SERVICES,                     *      (“SIRVA”); Special Processing Unit
                                        *      (“SPU”)
                    Respondent.         *
                                        *
****************************
Leah Durant, Law Offices of Leah Durant, PLLC, Washington, DC, for petitioner.
Lynn Ricciardella, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

       On April 14, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleged that she suffered severe shoulder pain after receiving the
tetanus vaccine3 on July 24, 2015. Petition at 1, ¶¶ 1-3, 12; see also Stipulation, filed
Apr. 17, 2017, at ¶¶ 1-2, 4. Petitioner further alleged that she received the vaccination
in the United States, suffered the effects of her injury for more than six months, and has
not received compensation for her injury, alleged as vaccine caused. Petition at ¶¶ 2,
13-14; see also Stipulation at ¶¶ 4-5. “Respondent denies that the Tdap vaccine
1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).

3Petitioner’s proof of vaccination shows she received an intramuscular injection of the Boostrix vaccine in
her left deltoid. Petitioner’s Exhibit 1. Boostrix is a tetanus, diphtheria, acellular pertussis vaccine
manufactured by GlaxoSmithKline Biologicals. See
https://www.fda.gov/BiologicsBloodVaccines/Vaccines/ApprovedProducts/ucm172925.htm (last visited on
Apr. 18, 2017).
           Case 1:16-vv-00474-UNJ Document 41 Filed 12/08/17 Page 2 of 7



caused petitioner to suffer from SIRVA, or any other injury, and denies that petitioner’s
current disabilities are sequelae of a vaccine-related injury.” Stipulation at ¶ 6.

        Nevertheless, on April 17, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

        A lump sum of $170,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.4

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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Case 1:16-vv-00474-UNJ Document 41 Filed 12/08/17 Page 3 of 7
Case 1:16-vv-00474-UNJ Document 41 Filed 12/08/17 Page 4 of 7
Case 1:16-vv-00474-UNJ Document 41 Filed 12/08/17 Page 5 of 7
Case 1:16-vv-00474-UNJ Document 41 Filed 12/08/17 Page 6 of 7
Case 1:16-vv-00474-UNJ Document 41 Filed 12/08/17 Page 7 of 7
